                 Case: 1:23-cr-00459-DCN Doc #: 58 Filed: 11/06/24 1 of 8. PageID #: 223


                                      United States District Court
                                                 NORTHERN DISTRICT OF OHIO


 UNITED STATES OF AMERICA                                                 §      JUDGMENT IN A CRIMINAL CASE
                                                                          §
 V.                                                                       §
                                                                          §      Case Number: l:23-CR-00459-DCN(l)
 DARION SHELTON                                                           §      USM Number: 72532-510
                                                                          §      Donald Butler
                                                                          §      Defendant's Attorney

THE DEEENDANT:
       pleaded guilty to count(s)                                 One, Two, and Three of the Indictment
  □    pleaded guilty to cotmt(s) before a U.S. Magistrate
       Judge, which was accepted by the court.
  □    pleaded nolo contendere to count(s) which was
       accepted by the court
  □    was found guilty on count(s) after a plea of not guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                    Offense Ended        Count
 18:922(a)(l)(A) and 924(a)(1)(D) Engaging In The Business Of Importing, Manufacturing, Or              08/10/2023           1
 Dealing In Firearms Without A Federal Firearms License
 18:922(o) and 924(a)(2) Illegal Possession Of A Machine Gun                                            08/10/2023           2
 18:933(a)(l) Trafficking In Firearms                                                                   08/10/2023           3




The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.


 □     The defendant has been found not guilty on count(s)
 o     Count(s) n is      n are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.



                                                                   November 6, 2024
                                                                   Date of Imposition of Judgment




                                                                   Signature of Judge



                                                                   DONALD G. NUGENT, United States District Judge
                                                                   Name and Title pf Judge
                                                                                  m juugc    .




                                                                   Date
                                                                                   hi{ivJlyc\. ^ iQ'
                   Case: 1:23-cr-00459-DCN Doc #: 58 Filed: 11/06/24 2 of 8. PageID #: 224

     AO 245B (Rev. 9/19) Judgment in a Criminal Case                                                                  Judgment ~ Page 2 of 8

DEFENDANT;                     DARION SHELTON
CASE NUMBER:                    l:23-CR-00459-DCN(l)

                                                            IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

60 months as to count 1; ICQ months as to count 2; ICQ months as to count 3. Terms to run concurrent. Defendant to be given credit
for time served in federal custody from August 10, 2023 - August 21, 2023.

     |X|   The court makes the following recommendations to the Bureau of Prisons:
            500-hour Residential Drug Abuse Program, or RDAP.



     |X|   The defendant is remanded to the custody of the United States Marshal.
     □     The defendant shall surrender to the United States Marshal for this district:


              □     at                                  □       a.m.        □   p.m.       on

              □     as notified by the United States Marshal.

     □     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

              □     before 2 p.m. on
              □     as notified by the United States Marshal.
              □     as notified by the Probation or Pretrial Services Office.


                                                                  RETURN

I have executed this judgment as follows:


            Defendant delivered on                                     to


at                                          , with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL



                                                                                                         By
                                                                                            DEPUTY UNITED STATES MARSHAL
                Case: 1:23-cr-00459-DCN Doc #: 58 Filed: 11/06/24 3 of 8. PageID #: 225

 AO 245B (Rev. 9/19) Judgment in a Criminal Case                                                                Judgment — Page 3 of 8

DEFENDANT:                 DARION SHELTON
CASE NUMBER:               1:23-CR-00459-DCN( 1)

                                                   SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of: three (3) years with standard/special
conditions as directed.




                                            MANDATORY CONDITIONS

 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
      release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            □ The above drug testing condition is suspended, based on the court's determination that you
                  pose a low risk of future substance abuse, {check if applicable)
 4.   □     You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
            of restitution (check if applicable)
 5.   ^     You must cooperate in ^e collection of DNA as directed by the probation officer, {check ifapplicable)
 6.   □    You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you
           reside, work, are a student, or were convicted of a qualifying offense, {check if applicable)
 7.   □    You must participate in an approved program for domestic violence, {check ifapplicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
 attached page.
                Case: 1:23-cr-00459-DCN Doc #: 58 Filed: 11/06/24 4 of 8. PageID #: 226

  AO 245B (Rev. 9/19) Judgment in a Criminal Case                                                                   Judgment - Page 4 of 8

DEFENDANT:                  DARION SHELTON
CASE NUMBER:                l:23-CR-00459-DCN(l)

                                STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change. If not in compliance with the condition of supervision requiring full-time
occupation, you may be directed to perform up to 20 hours of community service per week until employed, as approved or directed by
the pretrial services and probation officer.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injuiy or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the pennission of the court.
12. As directed by the probation officer, you shall notify third parties who may be impacted by the nature of the conduct underlying
your current or prior offense(s) of conviction and/or shall permit the probation officer to make such notifications, and/or confirm your
compliance with this requirement.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at the www.uscourts.gov.


 Defendant's Signature                                                                             Date
               Case: 1:23-cr-00459-DCN Doc #: 58 Filed: 11/06/24 5 of 8. PageID #: 227

 AO 245B (Rev. 9/19) Judgment in a Criminal Case                                               Judgment ~ Page 5 of 8
DEFENDANT;                 DARION SHELTON
CASE NUMBER:               l:23-CR-00459-DCN(l)

                                 SPECIAL CONDITIONS OF SUPERVISION


Mandatory Drug Testing
You must refrain from any unlawful use of a controlled substance and submit to one drug test
within 15 days of release from imprisonment and to at least two periodic drug tests thereafter, as
determined by the Court.

General Educational Development (GED)
You must enter an adult program and work toward obtaining a General Educational Development
(GED) diploma at the discretion of the U.S. Pretrial Services & Probation Officer.

Mental Health Treatment
You must undergo a mental health evaluation and/or participate in a mental health treatment
program and follow the rules and regulations of that program. The probation officer, in
consultation with the treatment provider, will supervise your participation in the program
(provider, location, modality, duration, intensity, etc.).

Search / Seizure
The defendant shall submit his or her person, property, house, residence, vehicle, papers,
computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage
devices or media, or office, to a search conducted by a United States probation officer. Failure to
submit to a search may be grounds for revocation of release. The defendant shall warn any other
occupants that the premises may be subject to searches pursuant to this condition. An officer may
conduct a search pursuant to this condition only when reasonable suspicion exists that the
defendant has violated a condition of his supervision and that the areas to be searched contain
evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable
manner.



Driver License and Insurance
You must possess a valid driver license and insurance to operate a motor vehicle.

Gambling Restriction
You must not engage in any form of gambling (including, but not limited to, lotteries, online
wagering, sports betting) and you must not enter any casino or other establishment where gambling
is the primary purpose (e.g., horse racetracks, off-track betting establishments).

Substance Abuse Testing
You must submit to substance abuse testing to determine if you have used a prohibited substance.
You must not attempt to obstruct or tamper with the testing methods.

DNA
You must cooperate in the collection of DNA as directed by the probation officer.
                 Case: 1:23-cr-00459-DCN Doc #: 58 Filed: 11/06/24 6 of 8. PageID #: 228

 AO 245B (Rev. 9/19) Judgment in a Criminal Case                                                                           Judgment — Page 6 of 8

DEFENDANT:                    DARION SHELTON
CASE NUMBER:                  l:23-CR-00459-DCN(l)

                                         CRIMINAL MONETARY PENALTIES


                             Assessment                 Restitution                Fine        AVAA Assessment*            JVTA Assessment**
 TOTALS                           $300.00                       $.00                $.00                          $.00


  □     The determination of restitution is deferred until             An Amended Judgment in a Criminal Case (A0245C) will be entered
        after such determination.
  □     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
          § 3664(i), all nonfederal victims must be paid before the United States is paid.



 □      Restitution amount ordered pursuant to plea agreement $
 □     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the schedule of
       payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 □      The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        □     the interest requirement is waived for the         □      fine                           □     restitution
        □     the interest requirement for the                   □      fine                           □     restitution is modified as follows:

* Amy, Vicky, and Andy Child Tomography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                  Case: 1:23-cr-00459-DCN Doc #: 58 Filed: 11/06/24 7 of 8. PageID #: 229

 AO 245B (Rev. 9/19) Judgment in a Criminal Case                                                                           Judgment — Page 7 of 8

DEFENDANT;                    DARION SHELTON
CASE NUMBER:                  l:23-CR-00459-DCN(l)

                                               SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     □     Lump sum payments of $                                       due immediately, balance due

       □     not later than                                   , or

       □     in accordance              □      C,          □         D,        □     E, or        □     F below; or

 B     □     Payment to begin immediately (may be combined with                D     C,           □     D, or              □       F below); or

 C     □     Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                                 (e.g., months or years), to commence                     (e.g., 30 or 60 days) after the date of this judgment;
             or




 D     □     Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                               (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from
             imprisonment to a term of supervision; or

 E     □     Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release
             from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that
             time; or

 F     1^    Special instructions regarding the payment of criminal monetary penalties:
             It is ordered that the Defendant shall pay to the United States a special assessment of $300.00 for Counts 1, 2 and
             3 , which shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 □     Joint and Several
       See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
       Several Amount, and corresponding payee, if appropriate.

       □ Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
       loss that gave rise to defendant's restitution obligation.
 □     The defendant shall pay the cost of prosecution.
 □     The defendant shall pay the following court cost(s):
 lEI   The defendant shall forfeit the defendant's interest in the following property to the United States:
            1.    Clock, Model 17GEN5, 9mm pistol, serial number AGKD620
            2.    PolymerSO, Model PFS9, 9mm-pistol, serial number SA24354
            3.    CANiK, Model TP9SF Elite, 9mm-pistol, serial number 19BH02406
            4.    Smith & Wesson, Model M&P 9, 9mm-pistol, serial number HAT2450
            5.    Polymer 80 Inc., Model PF940V2 .40 caliber pistol
            6.    Anderson Manufacturing, Model AM-15, Multi-Caliber, serial number 20389257
            7.    Smith & Wesson, Model M&P 9, 9mm pistol, serial number DVF3227
            8.    Clock, Model 2ISF, .45 caliber pistol, serial number LAT971
            9.    Clock, Model 19, 9mm pistol, serial number SYN469
            10.   80 Percent Arms, .40 caliber pistol
            11.   Clock, Model 23Cen5, .40 caliber pistol, serial number BYCH186
                 Case: 1:23-cr-00459-DCN Doc #: 58 Filed: 11/06/24 8 of 8. PageID #: 230

 AO 245B (Rev. 9/19) Judgment in a Criminal Case                                                                               Judgment - Page 8 of 8

DEFENDANT:                    DARION SHELTON
CASE NUMBER:                   1:23-CR-00459-DCN(l)

             12. Zastava, Model PAP M92PV 7.62 caliber pistol, serial number M92PV053345
             13. Clock, Model 19X, 9mm pistol, serial number BXHB736
             14. Clock, Model 17Cen5, 9mm pistol, serial number BNMF448
             15. Zastava, Model ZPAP92, 7.62x39mm pistol, serial number Z92-080815, with a drop-in auto sear
             16. Clock, Model 23, .40 caliber pistol, serial number ACDC480
             17. RomArm/Cugir, Model Micro Draco, 7.62x39mm pistol, serial number, PMD-42937
             18. Sig Sauer, Model P365 XL, 9mm pistol, serial number 66B206860
             19. All machinegun conversion devices.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
